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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


  ROW VAUGHN WELLS, INDIVIDUALLY                       )
  AND AS ADMINISTRATRIX OF THE                         )
  ESTATE OF TYRE DEANDRE NICHOLS,                      )
  DECEASED,                                            )
                                                       )
         Plaintiffs,                                   )
                                                       )
  v.                                                   )     CASE NO. 2:23-CV-02224
                                                       )     JURY DEMAND
  THE CITY OF MEMPHIS, A                               )
  MUNICIPALITY; CHIEF CERELYN DAVIS,                   )
  IN HER OFFICIAL CAPACITY; EMMITT                     )
  MARTIN III, IN HIS INDIVIDUAL                        )
  CAPACITY; DEMETRIUS HALEY, IN HIS                    )
  INDIVIDUAL CAPACITY; JUSTIN SMITH,                   )
  IN HIS INDIVIDUAL CAPACITY;                          )
  DESMOND MILLS, JR. IN HIS INDIVIDUAL                 )
  CAPACITY; TADARRIUS BEAN, IN HIS                     )
  INDIVIDUAL CAPACITY; PRESTON                         )
  HEMPHILL, IN HIS INDIVIDUAL                          )
  CAPACITY; ROBERT LONG, IN HIS                        )
  INDIVIDUAL CAPACITY; JAMICHAEL                       )
  SANDRIDGE, IN HIS INDIVIDUAL                         )
  CAPACITY; MICHELLE WHITAKER, IN                      )
  HER INDIVIDUAL CAPACITY; DEWAYNE                     )
  SMITH, IN HIS INDIVIDUAL CAPACITY                    )
  AND AS AGENT OF THE CITY OF                          )
  MEMPHIS,                                             )
                                                       )
         Defendants.                                   )


   JOINT MOTION TO MODIFY THE SECOND AMENDED SCHEDULING ORDER


        Defendants the City of Memphis (“the City”), Chief Cerelyn Davis in her Official

 Capacity (“Chief Davis”), and DeWayne Smith as Agent of the City of Memphis (“Lt. Smith”)

 (collectively, “the City Defendants”), together with Plaintiff (collectively, the “Parties”), by and

 through undersigned counsel, hereby move this Court to modify the controlling Scheduling

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 Order in this matter, and to enter a Third Amended Scheduling Order. In support of this Motion,

 the Parties state as follows:

        1.      Plaintiff filed her Complaint in this action on April 19, 2023. (ECF No. 1.)

        2.      This Court entered the original Scheduling Order on September 21, 2023. (ECF No.

 111.) On January 23, 2024, upon an unopposed motion by Plaintiff, this Court entered a First

 Amended Scheduling Order (“Amended Scheduling Order”). (ECF No. 151.) On April 26, 2024,

 upon a second unopposed motion by Plaintiff, this Court entered a Second Amended Scheduling

 Order (“Second Amended Scheduling Order”). (ECF No. 185.)

        3.      Pursuant to the Second Amended Scheduling Order, the operative final deadlines

 for this matter are as follows:

        COMPLETING ALL DISCOVERY: August 30, 2024

                (a) DOCUMENT PRODUCTION AND INTERROGATORIES: July 2, 2024

                (b) DEPOSITIONS: August 30, 2024

                (c) REQUESTS FOR ADMISSIONS: July 2, 2024

        EXPERT WITNESS DISCLOSURE PURSUANT TO FED. R. CIV. P. 26(A)(2):

                (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF
                    PROOF) RULE 26(A)(2) EXPERT INFORMATION: September 2, 2024

                (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE
                    26(A)(2) EXPERT INFORMATION: October 1, 2024

                (c) EXPERT WITNESS DEPOSITIONS: November 1, 2024

        MOTIONS TO EXCLUDE EXPERTS/DAUBERT MOTIONS: December 2, 2024

        SUPPLEMENTATION UNDER RULE 26(E)(1): October 4, 2024

        FILING DISPOSITIVE MOTIONS: October 28, 2024

        JOINT PROPOSED PRETRIAL ORDER DUE: March 7, 2025

        PRETRIAL CONFERENCE DATE: March 14, 2025


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         JURY TRIAL: March 24, 2025

         4.      On March 14, 2024, Plaintiff filed a Motion for Leave (1) to Take a Maximum of

 Thirty-Five Depositions; and (2) to Conduct Certain Depositions over the Permitted Seven (7)

 Hours. (ECF No. 163.) After a hearing on the issue, Magistrate Judge Christoff entered an Order

 on April 10, 2024, granting in part and denying in part Plaintiff’s motion for leave. (ECF No. 179.)

 The Order permits Plaintiff to take thirty fact witness depositions.

         5.      In addition, the parties have reached a resolution as to the City’s Rule 30(b)(6)

 deposition witnesses. Based on the topics set forth by Plaintiff, the City has designated six

 individuals to provide testimony, and the testimony is anticipated to take up to eight days.

         6.      Thus, in total, Plaintiff alone intends to take 36 depositions in this matter.

         7.      Moreover, the City intends to take 7-10 fact witness depositions in this matter.

         8.      The parties have made every effort to schedule all depositions in conformance with

 the previous Scheduling Order. However, due to counsels’ conflicting trial schedules, out of state

 travel, and other scheduling impediments attendant with aligning the schedules of all parties,

 Plaintiff has conducted six of her allotted thirty fact witness depositions as of the filing of this Joint

 Motion. Six additional fact witness depositions and one of the six 30(b)(6) witness depositions are

 scheduled to take place by August 30, 2024.

         9.      The Parties have conferred in good faith to schedule the depositions on dates

 available for all counsel by the current fact discovery deadline, August 30, 2024. To illustrate,

 while making scheduling decisions, the Parties were able to agree upon two shortened depositions

 on a particular day for several witnesses in an effort to meet the deadline set in the Second

 Amended Scheduling Order.




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        10.     However, given the number of parties to this case and the varying schedules of the

 witnesses and all counsel, the Parties have been unable to successfully schedule all depositions on

 or before August 30, 2024.

        11.     Also pending before this Court are the criminal cases of five of the defendants

 named in this lawsuit. (See generally U.S. v. Emmitt Martin III, et al., Case No. 2:23-cr-20191-

 MSN, Indictment, ECF No. 2 (W.D. Tenn. Sept. 12, 2023)). Specifically, former officers Desmond

 Mills, Jr., Emmitt Martin III, Tadarrius Bean, Demetrius Haley, and Justin Smith (collectively,

 “Criminal Defendants”) have all been indicted and are defendants in a federal criminal case arising

 from the same underlying incident that is the subject matter of this litigation. (See id.)

        12.     The trial in the criminal cases was initially set to begin May 6, 2024.

        13.     On September 21, 2023, this Court ordered a complete stay of the civil litigation

 against the Criminal Defendants. (ECF No. 110.)

        14.     On February 8, 2024, this Court reset the criminal trial of the Criminal Defendants

 to September 9, 2024. (See U.S. v. Emmitt Martin III, et al., Case No. 2:23-cr-20191-MSN, Notice

 of Re-setting, ECF No. 191 (W.D. Tenn. Feb. 8, 2024)). Thus, the criminal trial in the Western

 District of Tennessee, involving the Criminal Defendants was pushed back approximately eighteen

 weeks, or about four months. (See id.)

        15.     It appears from filings in the criminal cases that the criminal trial is expected to last

 somewhere between eight to fifteen days. (See U.S. v. Emmitt Martin III, et al., Case No. 2:23-cr-

 20191-MSN, Criminal Scheduling Order, ECF. No. 51, PageID 148, at ¶ 1 (W.D. Tenn. Sept. 21,

 2023); U.S. v. Emmitt Martin III, et al., Case No. 2:23-cr-20191-MSN, Emmitt Martin Proposed

 Pretrial Scheduling Order, ECF. No. 194-1, PageID 2420 (W.D. Tenn. Feb. 16, 2024)). Further, in

 the event some, or all, of the Criminal Defendants are found guilty, sentencing could take



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 additional weeks. Thus, the federal criminal cases may not be fully resolved until sometime in late

 fall or early winter of 2024, and may possibly take longer.1

        16.     The Parties state that good cause exists to extend the deadlines in the case due to

 the Parties scheduling concerns.

        17.     This Motion is made in good faith and in the interest of judicial economy.

        18.     This is the second motion to extend dates in the Scheduling Order.

        19.     The Parties propose the following modified dates:

        COMPLETING ALL DISCOVERY: December 30, 2024

                (a) DOCUMENT PRODUCTION AND INTERROGATORIES: November 1,
                    2024

                (b) DEPOSITIONS: December 30, 2024

                (c) REQUESTS FOR ADMISSIONS: November 1, 2024

        EXPERT WITNESS DISCLOSURES PURSUANT TO FED. R. CIV. P. 26(a)(2):

                (a) DISCLOSURE OF PLAINTIFF’S (OR PARTY WITH BURDEN OF
                    PROOF) RULE 26(a)(2) EXPERT INFORMATION: January 20, 2025

                (b) DISCLOSURE OF DEFENDANT’S (OR OPPOSING PARTY) RULE
                    26(a)(2) EXPERT INFORMATION: February 17, 2025

                (c) EXPERT WITNESS DEPOSITIONS: March 17, 2025

        MOTIONS TO EXCLUDE EXPERTS/DAUBERT MOTIONS: April 18, 2025

        SUPPLEMENTATION UNDER RULE 26(e)(1): January 30, 2025

        FILING DISPOSITIVE MOTIONS: April 4, 2025

        RESPONSES TO DISPOSITIVE MOTIONS: May 2, 2025


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   While not addressed in this Motion, the City Defendants point out that the state court criminal
 case has been “indefinitely postponed,” as of March 8, 2024. Adrian Sainz, Memphis Judge
 Postpones State Trial in Tyre Nichols Death Until End of Federal Trial, ASSOCIATED PRESS (March
 8, 2024, 11:28 AM), https://apnews.com/article/tyre-nichols-memphis-police-fatal-beating-
 37d8394ca0aad20795547d165b60e7a8. This postponement lasts “until after the conclusion of a
 federal court trial on civil rights violations.” Id.
                                                  5
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        REPLIES TO DISPOSITIVE MOTIONS: May 16, 2025

        JOINT PROPOSED PRETRIAL ORDER DUE: TBD

        PRETRIAL CONFERENCE DATE: TBD

        JURY TRIAL: TBD, approximately Summer 2025. Trial is anticipated to last
        approximately 15 days.

        Based on the foregoing, the City Defendants and Plaintiff respectfully request that this

 Court grant this Motion for Modified Scheduling Order and enter a Third Amended Scheduling

 Order in this case, consistent with the dates proposed above.

        Dated: July 18, 2024
                                                         Respectfully submitted,

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                                                          CALDWELL & BERKOWITZ, P.C.

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                             CERTIFICATE OF CONSULTATION

        Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on July 10 and

 July 18, 2024, counsel for the City, Jennie Silk, consulted with all parties, via email. The parties

 were asked to respond if they opposed the Joint Motion or any of the proposed new deadlines. A

 chart detailing the parties’2 responses is below:

                     Party                 Responding              Opposition?
                                           Counsel
                     Plaintiff             N/A                     No – Joining
                                                                   in Motion
                     Long                  Darrell O'Neal          No
                     Hemphill              Betsy McKinney          No
                     D. Smith              Betsy McKinney          No
                     Whitaker              Jarrett Spence          No
                     Sandridge             Laura Smittick          No


                                                         s/ Bruce A. McMullen
                                                         Bruce A. McMullen



                                  CERTIFICATE OF SERVICE

        I, Bruce McMullen, hereby certify that on July 18, 2024, I electronically filed the foregoing

 with the clerk of the court by using the CM/ECF system, and that upon filing, such system will

 serve a copy of the foregoing upon all counsel of record in this action.


                                                         s/ Bruce A. McMullen
                                                         Bruce A. McMullen




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  The case is stayed against Defendants Haley, Bean, Emmitt Martin III, Mills, Jr., and J. Smith.
 Accordingly, only one of the stayed-Defendants’ attorneys responded to counsel’s request for
 consultation. Stephen Leffler, counsel for Defendant Haley, does not oppose the motion.
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